
“This court (not admitting that the omission to state the names of the issue of the female slaves in the declaration mentioned was important, and being of opinion that the declaration, not laying a separate value as to all the negroes demanded thereby, might have been held erroneous upon demurrer) is yet of opinion that the judgment of the district court is, in this case, erroneous; the latter defect being cured by the verdict, which has severed the value aforesaid ; and the former being, at most, only a fact imperfectly stated,' (1) and, consequently, cured by the verdict, which finds the names of the issue of the female slaves in the declaration mentioned. It is therefore adjudged that the judgment aforesaid be reversed, ■with costs, and entered for the appellant, pursuant to the verdict.”

 Note, See Fulgham v. Lightfoot, 2 Call, 257.

